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        13         Attorneys for the Chapter 11
                   Debtors and Debtors in Possession
        14

        15                               UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF WASHINGTON
        16
                   In re
        17                                                       No. 21-00141-WLH11
                   EASTERDAY RANCHES, INC., et al., 1
        18                                                       SECOND STIPULATION BY AND
                                               Debtors.          BETWEEN DEBTOR EASTERDAY
        19                                                       FARMS AND MACK FINANCIAL
                                                                 REGARDING MOTION FOR RELIEF
        20                                                       FROM STAY
        21

        22         1
                       The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.,
        23
                       (21-00141-WLH11) and Easterday Farms, a Washington general partnership
                       (21-00176-WLH11).
                                                                                     B USH K ORNFELD
                   SECOND STIPULATION BY AND BETWEEN
                                                                                                               L LP
                                                                                             LAW OFFICES
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             1             Debtor Easterday Farms, a Washington General Partnership (“Farms”) and Mack
             2     Financial Services, a division of VFS US LLC (“Mack Financial” and, together with
             3     Farms, the “Parties”), by and through their undersigned counsel of record, hereby enter
             4     into this second stipulation and agreed order (the “Second Stipulation”), pursuant to
             5     which the Parties stipulate and agree as follows:
             6             WHEREAS, on April 21, 2021, Mack Financial filed its Motion for Relief from
             7     Stay (the “Motion” found at Docket No. 603), seeking, inter alia, relief from stay to
             8     obtain possession of certain equipment (the “Collateral”).
             9             WHEREAS, other than Farms, no party-in-interest responded to the Motion.
        10                 WHEREAS, on May 10, 2021, the Parties entered into a Stipulation by and
        11         between Debtor Easterday Farms and Mack Financial Regarding Motion for Relief
        12         from Stay (the “First Stipulation” found at Docket No. 686).
        13                 WHEREAS, on June 16, 2021, the court entered an agreed order authorizing
        14         Farms to make certain adequate protection payments to Mack Financial (Docket No.
        15         820).
        16                 WHEREAS, Farms no longer requires use of the equipment over which the
        17         Motion seeks relief from stay.
        18                 Based on the foregoing recitals, the Parties hereby stipulate and agree as
        19         follows:
        20                 1.    Upon the court entering an order approving this Second Stipulation, Mack
        21         Financial shall be entitled to immediate relief from the automatic stay with respect to
        22         the Collateral covered by the Motion. Mack Financial shall arrange with Farms to take
        23         possession of the Collateral as soon as practicable.

                                                                                    B USH K ORNFELD
                   SECOND STIPULATION BY AND BETWEEN
                                                                                                              L LP
                                                                                            LAW OFFICES
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             1           2.     Upon taking possession of the collateral, Mack Financial waives any right
             2     to assert a deficiency or any other claim against either or both of the Debtors. Within 14
             3     days of entry of an order approving this Second Stipulation, Mack Financial shall
             4     withdraw claims 62, 63, and 64 filed in the Easterday Ranches case.
             5           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD
             6

             7     DATED September 29, 2021        BUSH KORNFELD LLP
             8                                     /s/ Thomas A. Buford
                                                   THOMAS A. BUFORD, III (WSBA 52969)
             9
                                                   RICHARD M. PACHULSKI (Admitted Pro Hac Vice)
        10
                                                   JEFFREY W. DULBERG (Admitted Pro Hac Vice)
        11                                         JASON H. ROSELL (Admitted Pro Hac Vice)
                                                   PACHULSKI STANG ZIEHL & JONES LLP
        12
                                                   Attorneys for the Debtor
        13
                   DATED September 29, 2021        GORDON REES SCULLY MANSUKHANI, LLP
        14
                                                   /s/ KENT CARTER
        15                                         KENT CARTER (Admitted Pro Hac Vice)
                                                   W. GREGORY LOCKWOOD (WSBA 52232)
        16
                                                   Attorneys for Mack Financial
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                                                                                    B USH K ORNFELD
                   SECOND STIPULATION BY AND BETWEEN
                                                                                                               L LP
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